Case:17-03283-LTS Doc#:18484 Filed:10/13/21 Entered:10/13/21 11:30:56                     Desc: Main
                            Document Page 1 of 3



                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
  ----------------------------------------------------------x
  In re:                                                             PROMESA
                                                                     Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,

          as representative of                                       No. 17 BK 3283-LTS

  THE COMMONWEALTH OF PUERTO RICO,                                   (Jointly Administered)
  et al.,

                             Debtors.1
  ----------------------------------------------------------x

                    PRO SE NOTICES OF PARTICIPATION RECEIVED BY THE COURT
             (DISCOVERY FOR CONFIRMATION OF COMMONWEALTH PLAN OF ADJUSTMENT)

                   The attached additional pro se Notices of Intent to Participate in Discovery

  Concerning Confirmation of Commonwealth Plan of Adjustment have been received by the Court

  on October 12, 2021 for filing in the above-captioned cases pursuant to the Order Establishing

  Preliminary Confirmation Submission and Discovery Procedures and Directing Notice to

  Creditors of the Same (Docket Entry No. 17431 in Case No. 17-3283).




  1
          The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
          number and the last four (4) digits of each Debtor’s federal tax identification number, as
          applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy
          Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
          Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS)
          (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
          Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of Federal
          Tax ID: 3808); (iv) Employees Retirement System of the Government of the
          Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last
          Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
          (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and
          (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-
          LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
          Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:18484 Filed:10/13/21 Entered:10/13/21 11:30:56 Desc: Main
                                     Document Page 2 of 3
  Pro Se Notices of Participation Received by the Court (Discovery – Confirmation Plan)
  October 13, 2021



           1. Maria J. Rosado Gonzalez

           2. Maria Morales Sanchez

           3. Maria D. Santiago Melendez

           4. Jose Rafael Alfonso Rodriguez

           5. Sergio Morales Camacho

           6. Luz Eneida de Jesus Santiago

           7. Edwin J. Martinez Acosta

           8. Marilyn Goden Izquierdo

           9. Magda N. Torres Rosado

           10. Ruben Espada Acevedo

           11. Jorwin Ortolaza Mercado

           12. Florence Singer & Loius Singer (2 notices)

           13. Elvira Morales Muñiz

           14. Brenda L. Satiago Ortiz

           15. Rafi Martinez Morales (2 notices)

           16. Carmen L. Ortiz Rivera

           17. Miguel A. Luna de Jesus

           18. Carmen M. Nuñez Rodriguez

           19. Olga M. Colon

           20. Manuel Jimenez Cruz

           21. Aida Luz Garcia Martinez

           22. Delia Evelisse Rodriguez Carrillo




                                                                                   2
Case:17-03283-LTS Doc#:18484 Filed:10/13/21 Entered:10/13/21 11:30:56 Desc: Main
                                     Document Page 3 of 3
  Pro Se Notices of Participation Received by the Court (Discovery – Confirmation Plan)
  October 13, 2021
            23. Iris E. Santana Feliciano

            24. Rosa Matos Pomales & Feliciano Herrera

            25. Migdalia Diaz Rivera

            26. Miriam Roman Goycochea

            27. Georgina Batista Vasquez

            28. Irma E. Ortiz Colon

            29. Jesus Guzman Santiago

  Dated: October 13, 2021




                                                                                   3
